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IN THE UNlTED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

 

WESTERN DIVISION
CHARLES E. DAVIS,
Plaintiff,
VS. NO. OS-ZIOl-Ma/P
THE C.P. HA.LL COMPANY,
Defendant.
ORDER OF DISMISSAL

 

The parties have submitted a “Stipulation of Dismissal” in this matter indicating that this
matter may be dismissed With prejudice It is therefore ORDERED that this case is DISMISSED

with prejudice, each party to bear its own costs, including attorneys’ fees.

JA@/"/'/L`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

Entered this lq mday ofMay, 2005.

 

This document entered on the docket sheet in com fiance
with nine 58 auditor fs(a) FRCP on LQ__‘ _7__‘_Q §

       

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Honorable Samuel Mays
US DISTRICT COURT

